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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X                 12/21/2020
AQUAVIT PHARMACEUTICALS, INC.,                                 :
                                                               :   19-CV-3351 (VEC) (RWL)
                                    Plaintiff,                 :
                                                               :   ORDER
                  - against -                                  :
                                                               :
U-BIO MED, INC., et al.,                                       :
                                                               :
                                    Defendants.                :
---------------------------------------------------------------X

ROBERT W. LEHRBURGER, United States Magistrate Judge.

        This resolves the letter motions made by Defendants (seeking a conference to

address Plaintiff’s alleged failure to produce discovery) (Dkt. 205) and Plaintiff (seeking

sanctions for Defendants’ failure to produce sanctions-related discovery by December 16,

2020, as required by the Court) (Dkt. 206).

        1.       Defendants’ request for a discovery conference is denied without prejudice.

Plaintiff has had more than enough time to respond to Defendants’ October 23, 2020

letter and may not put the primary case discovery on a slow track. Although the Court

denied Defendants’ request to put sanctions and the primary case on the same track

(which would have unnecessarily delayed the sanctions issues), that does not mean that

Plaintiff may ignore the primary case while attending to the sanctions issues. Accordingly,

by December 30, 2020, Plaintiff shall fully respond to Defendants’ discovery concerns

raised in the October 23, 2020 letter. By January 14, 2021, the parties shall meet and

confer to fully discuss the discovery issues and to set a schedule for the remainder of the

case, which they shall propose to the Court by January 21, 2021. If and to the extent the




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parties reach an impasse, they shall write to the Court by January 21, 2021, identifying

the issues and may request a conference to resolve them.

       2.     The parties may address the issue of sanctions for Defendants’ failure to

comply with sanctions-related discovery in the upcoming sanctions briefing.

                                          SO ORDERED.



                                          _______________________________
                                          ROBERT W. LEHRBURGER
                                          UNITED STATES MAGISTRATE JUDGE

Dated: December 21, 2020
       New York, New York

Copies transmitted this date to all counsel of record.




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